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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                           :
                                                   :
                                                   :
                V.                                 :    CRIMINAL NUMBER 22-110-1
                                                   :
                                                   :
TRANQUILINO LEON-VASQUEZ                           :


                                              ORDER

         AND NOW, this             day of                   , 2022, upon consideration of the

Defendant’s Unopposed Motion for Continuance of Trial, it is hereby ORDERED that the

motion is GRANTED. The Court finds that the parties need additional time to determine

whether a non-trial disposition can be negotiated and if not, the defense needs more time to

prepare for trial. Pursuant to 18 U.S.C. § 3161(h)(7)(A), the Court finds that the ends of justice

served by the continuance outweigh the best interest of the public and the defendant in a speedy

trial.

         Trial in this matter shall begin on the          day of                , 2022.


                                                   BY THE COURT:



                                                                                      __
                                                   THE HONORABLE WENDY BEETLESTONE
                                                   United States District Court Judge
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                      :
                                              :
                                              :
               V.                             :      CRIMINAL NUMBER 22-110-1
                                              :
                                              :
TRANQUILINO LEON-VASQUEZ                      :

       DEFENDANT=S UNOPPOSED MOTION FOR CONTINUANCE OF TRIAL

       Tranquilino Leon-Vasquez, by and through his attorney, Andrew C. Moon, Assistant

Federal Defender, Federal Community Defender Office for the Eastern District of Pennsylvania,

respectfully requests a continuance of trial for the above captioned case. As grounds, counsel

avers as follows in support of his motion to continue trial for a minimum of ninety (90) days:

       1.      On April 12, 2022, Mr. Leon-Vasquez was arraigned before The Honorable

Lynne A. Sitarski and entered a plea of not guilty to the instant indictment.

       2.      The trial is scheduled to begin on September 19, 2022.

       3.      Defense counsel needs additional time to review the discovery materials with Mr.

Leon-Vasquez, conduct necessary investigation and legal research, determine if a non-trial

disposition is possible, and otherwise prepare for trial. A continuance of not less than ninety

(90) days is respectfully requested.

       4.      Assistant United States Attorney Christopher John Mannion has no objection to

this continuance motion.

       5.      Defense counsel stipulates that the time from the filing of this motion until the

trial date is excludable time pursuant to 18 U.S.C. § 3161(h)(7)(A).
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       6.      Counsel undersigned reviewed Mr. Leon-Vasquez’s speedy trial rights with him

and he verbally consented to a continuance.

       WHEREFORE, for the foregoing reasons, the defense respectfully requests that this

motion be granted.

                                                  Respectfully submitted,


                                                  /s/ Andrew C. Moon
                                                  ANDREW C. MOON
                                                  Assistant Federal Defender
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                              CERTIFICATE OF SERVICE

        I, Andrew C. Moon, Assistant Federal Defender, Federal Community Defender Office for

the Eastern District of Pennsylvania, hereby certify that I have electronically filed and served a

copy of the Defendant’s Unopposed Motion for Continuance of Trial, by electronic notification

and/or hand delivery to his office, upon Christopher John Mannion, Assistant United States

Attorney, office located at 615 Chestnut Street, Suite 1250, Philadelphia, Pennsylvania 19106,

via his email address Christopher.Mannion@usdoj.gov.



                                                      /s/ Andrew C. Moon
                                                      ANDREW C. MOON
                                                      Assistant Federal Defender


DATE:          August 17, 2022
